Case 1:19-cv-01339 Document1-13 Filed 10/11/19 Page 1of1PageID#: 29

 

 

 

{rad ‘ep “yquous)
LLVC SILL IW FOIA OL NYOMS CNY CaaNsans Lad Wa 920 6102-92-60 to Keun Aref £q poudts ATeHeIA

INVNIVIGNO3 30 TEQLYNSIS
‘Pyeq pue uopeuuop VBpaymowwy Aur Jo Jsaq, "7Pe.L102 pure ary st aaoge orp gem) Amfred Jo Qreuad zopun azeyap |

 

aU] 0} aT] St 7 BUR pue aBreyo aaoge ayy pear savy f Jet WUIyZe 10 Teams |

 

“semnpesoid aay] YEA aduepso2le WT asrey? Au jo Suisse20ad ayy ui wey
am Almng eqetadoos [tm 1 pure zaqumm euoyd 10 ssoxppe Ata aBuey> | jt satousSe oy} astape
S]usUreLINbay ADU Y JEIOT PUE DIETS JO} AABSSPIOU LOYAL ~ JOVION Te 1 “Aue yt ‘AouaSy [zoo] so yeyg au Pue Og tp yjOg YM paTY aseyp sm quem |

 

 

 

“popuomre se Soy seni fiqesid jim sue spammy ey] Jo UonEiora wi Ariqesrp Auz Jo asnejeq suede payeUNALsIp Waeq SAey |
“arrjar nod uN St 71 [aay am yng ‘seed OZ JO Gol poo e pip nod aztpar | ‘aut 0} JUas BUeYs su} e}9] F 0} SuIpIo2Iy

“stiosiad 00 Jaso sfoydmme Saedmo2 sql, ‘pamjer Apeyunjoau sem J ‘gioz ‘oz

Jequiasag U0 “aITa1 | spuamimoses ay Jey} sYPAYS NOY ZT AIOM jou pjnos | ft Zarkes qomssuroy Joley Aq peruep sem ysonbas

ay sydeg uapzeM Joy soy g BapOMm snayWOD 03 au MoTTe 0} AWTIGestp Aur 0} onp UoTEpouMOss s[qetoseor jusuEnted

BIO} qsonbez JeULIO} & payTurqns | ‘eToz ‘¢ Jaquiasaq uO “YIys Moy zT e& Suppiom *¢ Jaye ToQUSysp 34} 0} 3IYs Moy ¢

ue Zunyiom Armoes asnoyyMo Woy peLleysuey sem | ‘SLOz “ZT I@QUISAON UO “ansst peoTpeut snopes & pey I ‘L10z ‘6z TOqUISAON,

a0 “Appem-iq oo'o0s TS Summiee “royTe(e se g66T “T ArenLiqed Wo a2qyO WusyYs Yysted sepidey WLM JusuAopdure Sum uesaq |
iisjisays expe yooue ‘papasu st zaded jeuormppe 7} TAY SAVIN AHL

 

NOLLOW ONIANLINO? [| (Grads) SLO [|
NOLLWAYOANI SILENZ9 [] ALmMeavsia [x] 3D¥ [J] NOLLVITVLZa [|

810Z-02-ZT 8T02-92-£0 NIDT3O TYNOLLYN [| NOISIER [| as [| 40109 [| wove [|

 

 

 

 

 

 

 

S972] qsoqaez
31d YOOL NOLLYNIWTHDSId (S)zLva C53)xog onadordde y2y2) NO CISVd NOLLVNIARDSIC
apo? diz pur eyes ‘AID sseuppy 32005
“ON suoyd sraqmapl ‘saaXopdury “on suey
OETZ VI ‘VINGNVXSTV 9715 SeLMY 002
apo? dIZ pur eqeys “G19 SSOIPPY FONS
OOL9-EL% (STE) +T0S SDL40 TITMAHS ASTaVd Sididya
“ON OUCud siaquiayy ‘saaXo]dmg “oN OWEN

 

 

 

(MOlag SYUYTINOLLEWd 1apun jsiy Om} weigy aroUl Jf) °S12UO Io ayy youesy
peyeunmmosig saatag | ey, Aouad y jueUMIAAN [eI07 JO a7eIg LO ‘saQMUOD diyssonuaiddy ‘AoueSy juaurdoding ‘uoneztesi9 10qe7 ‘reXojdurg ayy st peurey

 

E0€TL VI “VINGNVXATY ‘399245 TTEH 80S

 

 

 

 

 

 

 

apod diz pur azris “G0 sseappy Jeans
£S6T. T6F-€FF (STE) Aauppy J Aitel “,
UMig Joma, auoYyg WOH (San “SHE Cay eqeaipuy) mae
Aue jy Aouad y Jerof 10 a7e1s
DOF pue SJqBTY ULM UC WolssTMMO> BUEISMOT
¥2900-6102-19% sosz [x]
“WLIO} sty Suoydiuo a10joq NOLe20} Ui 49490 pu JUeTIATEIS
Vdai [] dv Ovarg pasopsua 20g “bz61 JO Joy AdeaLaY aug Aq payoaye st WO] SPY,
1(S)ON eBuey9 (sat)Aouesy :OL peyesarg e81ey> NOILYNIATYOSIC JO JOaVHD

 

 

(oft) ¢ m104 2074

 
